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                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,                        Case No. 1:12-cr-00196-BLW

                      Plaintiff,
                                                  ORDER
         v.

 SHANNON L. STEWART and
 MICHAEL P. DUSCHKA,

                      Defendants.


        Defendant Shannon Stewart was arraigned on a the Indictment on September 20,

2012. Her trial is currently set for October 29, 2012. Co-defendant Michael Duschka was

arraigned on October 22, 2012, and his trial is currently scheduled for December 17,

2012.

        The speedy trial clock involving multiple defendants begins to run with the

most recently added defendant. U.S. v. King, 483 F.3d 969, 972-74 (9th Cir. 2007).

Moreover, trial for a defendant shall not commence less than thirty days from the

date on which the defendant first appears through counsel or expressly waives counsel

and elects to proceed pro se. 18 U.S.C. § 3161(c)(2). Thus, Michael Duschka’s trial

cannot commence on October 29, 2012. Additionally, Under the Speedy Trial Act, 18

U.S.C. § 3161(h)(6), excludable time exists for “a reasonable period of delay when the

defendant is joined for trial with a co-defendant as to whom the time for trial has not run

and no motion for severance has been granted.” No motion for severance has been filed in
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this case. Accordingly,

      NOW THEREFORE IT IS HEREBY ORDERED that the present trial date for

Defendant Shannon Stewart be VACATED, and that a new trial be set for December 17,

2012 at 1:30 p.m. in the U.S. Courthouse in Boise, Idaho.

      IT IS FURTHER ORDERED that the period of time between the prior trial date

and the new trial date be deemed EXCLUDABLE TIME under the Speedy Trial Act, 18

U.S.C. § 3161(c)(2) and (h)(6), and U.S. v. King, 483 F.3d 969, 972-74 (9th Cir. 2007).

      IT IS FURTHER ORDERED that the current trial readiness conference for

Defendant Stewart be VACATED, and that a new trial readiness conference be

conducted by telephone on December 5, 2012 at 4:00 p.m. The Government shall place

the call to (208) 334-9145 with opposing counsel on the line.

      IT IS FURTHER ORDERED that pretrial motions shall be filed on or before

November 19, 2012.

                                         DATED: October 24, 2012



                                         B. LYNN WINMILL
                                         Chief U.S. District Court Judge
